          Case 1:19-cr-00449-LO Document 392 Filed 11/03/21 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



   United States of America,




                                                             Civil Action No. 1:19-cr-0449
   Kenneth W.Ravenell,et ai..                                Hon. Liam O'Grady
                                                             (UNDER SEAL)
                          Defendants.




                                             ORDER




       This matter comes before the Court on the Defendants' Motion for a Stay, Dkt. 380. The

Defendants have requested that the Court stay its previous order, Dkt. 378, which removed the

appealability of decisions to disclose certain discovery items to the Government. The Defendants

contend that a stay is necessary so that they can seek appellate review from the Court of Appeals

to challenge decisions to turn over evidentiary material to the Government.' Dkt. 380 at 1. For
the following reasons, the Court does not find this argument persuasive and holds that the

Motion for a Stay is DENIED.

       On February 19, 2020 the Court had certified the decisions to turn over the materials-

gathered pursuant to a search warrant—as appealable in accordance with 28 U.S.C. §1292(b)^.

      'The motion for a stay pending appeal was only filed on behalf ofthe Defendant
       Ravenell. The mandamus petition was filed on behalf of all the Co-defendants, so
       consequently the Court will consider this motion in regard to all three Defendants.
       ^ 28 U.S.C. §1292(b) states that "application for appeal hereunder shall not stay
       proceedings in the district court unless the districtjudge or the Court of Appeals or a
       judge thereof shall order." Congress has clearly directed that the district court retains
Case 1:19-cr-00449-LO Document 392 Filed 11/03/21 Page 2 of 6
Case 1:19-cr-00449-LO Document 392 Filed 11/03/21 Page 3 of 6
Case 1:19-cr-00449-LO Document 392 Filed 11/03/21 Page 4 of 6
Case 1:19-cr-00449-LO Document 392 Filed 11/03/21 Page 5 of 6
Case 1:19-cr-00449-LO Document 392 Filed 11/03/21 Page 6 of 6
